                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BLUE CROSS BLUE SHIELD
 ASSOCIATION, et al.,
                                 Plaintiffs,
                  vs.
                                                         Civil Action No. 2:13-cv-4663-JS


GLAXOSMITHKLINE LLC,
                                 Defendant.


             PLAINTIFFS’ OPPOSITION TO GSK’S MOTION TO CERTIFY
               AN INTERLOCUTORY APPEAL AND STAY THE TRIAL

       GSK’s argument that an interlocutory appeal will “facilitate more meaningful

consideration of settlement” (Dkt. No. 304-1, at 1) flies in the face of reality. The best way to

facilitate a settlement is to start the trial of this case on November 12, as scheduled by the Court.

A six-week trial and a likely jury verdict by late December will promote a settlement far sooner

than any interlocutory appeal. Even if the Third Circuit accepted and “expedited” GSK’s appeal,

proceedings in the Third Circuit would stretch far into next year. Moreover, if GSK truly

believed that it has a “strong” likelihood of success on the merits with respect to the injury issue

(Dkt. No. 304-1, at 14), it should stop its delaying tactics and proceed to trial: GSK will either

win a defense verdict in a few weeks, or it will have a silver bullet for any plaintiffs’ verdict on

post-judgment appeal.

       The actual goal of GSK’s motion is to delay rather than facilitate a settlement, by

eliminating any current pressure on GSK to negotiate. This case has been litigated for years, and

the parties are ready to proceed to trial. On its face, therefore, GSK’s motion fails an essential

requirement imposed by 28 U.S.C. § 1292(b): interlocutory review at this late stage of the case
will not “materially advance the ultimate termination of the litigation.” As this Court has

recognized, “an interlocutory appeal can hardly advance the ultimate termination of the

litigation” when “discovery is complete and the case is ready for trial.” In re Prosser, 2011 WL

2181619, at *4 (D.V.I. June 3, 2011) (Sánchez, J.) (internal quotation marks omitted). That

principle is fully applicable here.

        In addition, GSK’s motion fails the other requirements imposed by § 1292(b). The

statute requires a showing that an interlocutory appeal will resolve a “controlling question of

law” as to which “there is a substantial ground for difference of opinion.” GSK has made no

such showing.

        Section 1292(b) also makes clear that even if certification is granted, a stay pending

appeal faces additional hurdles. The statute provides that “application for an appeal hereunder

shall not stay proceedings in the district court unless the district judge or the Court of Appeals or

a judge thereof shall so order.” To justify a stay, GSK must present evidence to support findings

in its favor on four issues:

        (1) whether [GSK] has made a strong showing that [it] is likely to succeed on the
        merits; (2) whether [GSK] will be irreparably injured absent a stay; (3) whether
        issuance of the stay will substantially injure the other parties interested in the
        proceeding; and (4) where the public interest lies.

Hilton v. Braunskill, 481 U.S. 770, 776 (1987). GSK bears the burden on all four issues. See,

e.g., Devon IT, Inc. v. IBM Corp., 2013 WL 6721748, at *3-4 (E.D. Pa. Dec. 20, 2013). GSK

has not even come close to carrying that burden.

I.      GSK Has Failed To Satisfy The Tests Imposed By § 1292(b) For Certification Of An
        Interlocutory Appeal

        “Controlling question of law.” GSK declares: “[The] question here is a dispute about a

pure legal issue, not an issue of fact, so it is immaterial for purposes of this interlocutory appeal



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request that the Court concluded [in its Rule 56 decision] that there were issues of material fact

in dispute.” Dkt. No. 304-1, at 5. GSK’s assertion is meritless on at least two counts.

       First, insofar as the injury question is “a pure legal issue,” this Court rejected GSK’s

position years ago when it denied GSK’s Rule 12(b)(6) motion. Applying In re Avandia Mktg.,

Sales Practices & Product Liab. Litig., 804 F.3d 633 (3d Cir. 2015) (“Avandia I”), this Court

held that Plaintiffs can establish their financial injury by proving that GSK fraudulently induced

Plaintiffs to pay for drugs that were economically “worthless,” without the need for proof of

patient harms or product defect. Dkt. No. 105, at 9-12. If GSK’s assertions now were correct,

GSK could have made a § 1292(b) motion at that threshold stage of the litigation, before the

parties went through years of wide-ranging document and deposition discovery, massive Rule 56

and Daubert submissions, and intensive preparations for trial. GSK chose not to make such a

motion. GSK’s last-minute resort to § 1292(b) is an attempt to delay a resolution of this case by

way of a settlement or trial, not an effort to achieve a necessary clarification of the law.

        Second, this Court’s Rule 56 decision establishes that the question of injury involves

disputed issues of fact that can only be adjudicated at a trial. The Court quoted, for example, the

testimony of GSK’s own cGMP expert, Ronald Stellon, who effectively admitted that a lack of

assurance as to the quality of the At-Issue Drugs would render them worthless. Dkt. No. 295, at

29. The Court also quoted Plaintiffs’ own testimony to the same effect. Id. GSK disputes all

such testimony, contending that the assurance of quality has no bearing on the economic value of

its drugs and is immaterial to Plaintiffs and other third-party payers. See, e.g., GSK’s Rule 56

Brief, Dkt. No. 209, at 33: “[P]laintiffs cannot establish injury merely by asserting they would

not have bought the drugs had they known of this supposed ‘lack of assurance.’ That is not a

cognizable injury.” Viewing the factual record under Rule 56, the Court concluded: “The



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question of whether Plaintiffs have produced sufficient evidence to prove their injury thus

requires the resolution of genuine issues of material fact and turns on the credibility and weight

afforded to the parties’ witnesses.” Dkt. No. 295, at 29-30. GSK cannot blithely dismiss this

finding as “immaterial” under § 1292(b). The injury issue is a mixed question of law and fact.

An interlocutory appeal is inappropriate when the record is incomplete and the issue to be

certified remains subject to factual disputes. See, e.g., Kanafani v. Lucent Techs., Inc., 2009 WL

3698108, at *3 (D.N.J. Nov. 5, 2009) (“a factual dispute is not an appropriate basis for

immediate interlocutory appeal under § 1292(b)”). In these circumstances, the evidence should

be assessed by a jury before any appeal is taken.

       “Substantial ground for difference of opinion.” In an attempt to conjure up a conflict

in the case law, GSK rehashes the arguments it made in its summary judgment motion and at oral

argument. GSK cites the same cases, and continues to misrepresent their holdings -- particularly

Avandia I, Johnson & Johnson, and Kwikset. All of those cases are consistent with this Court’s

injury analysis. No clarification of the law is required.

       To begin with, GSK makes the nonsensical assertion that this Court “necessarily had to

distinguish” Avandia I to uphold Plaintiffs’ injury claim. Dkt. No. 304-1, at 6. This Court did

nothing of the kind. Instead, the Court expressly relied on Avandia I in analyzing Plaintiffs’

claim. In its Rule 12(b)(6) decision, the Court held: “As in In re Avandia, Plaintiffs’ injury does

not depend on the at-issue drugs’ ineffectiveness, or factual speculation concerning future events,

but rather on GSK’s misrepresentations concerning the production, quality, and safety of the

drugs.” Dkt. No. 105, at 9. The Court also pointed out: “The parties agree the In re Avandia

court held a plaintiff may adequately plead economic harm independent of whether the alleged

fraud causes physical harm to the drug users.” Id. Furthermore, as the Court noted, it was



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GSK—not the Court or Plaintiffs—that attempted to distinguish Avandia I. Id. at 9-10. Avandia

I directly supports this Court’s injury analysis.

       Likewise, Johnson & Johnson and Kwikset are fully consistent with this Court’s analysis.

See In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Practices & Liab. Litig., 903

F.3d 278 (3d Cir. 2018); Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310 (2011). In Johnson &

Johnson, the Third Circuit found that the plaintiff had failed to allege that the product in issue

was worth even “one penny less than what she paid.” 903 F.3d at 288. Furthermore, the plaintiff

had an “apparent desire to continue purchasing [the product] in the future despite being aware of

its alleged health risks.” Id. at 289. Here, however, Plaintiffs have presented ample proof that

the drugs they paid for were economically worthless, and that Plaintiffs would have refused to

pay for the drugs if they had known the truth.

       The Third Circuit in Johnson & Johnson also noted that its holding “does not conflict”

with Kwikset. Id. at 290 n.14. In Kwikset, the California Supreme Court held that the plaintiffs

had properly alleged causation and injury because, had they known that the defendant

misrepresented its locksets as “Made in U.S.A.,” the plaintiffs “would not have purchased” the

locksets. 51 Cal. 4th at 319. The Kwikset court concluded that an allegation that a plaintiff

“would not have bought the product but for the misrepresentation . . . is sufficient to allege

causation. It is also sufficient to allege economic injury.” Id. at 330. That is precisely

analogous to what Plaintiffs allege here. Plaintiffs “would not have bought” GSK’s drugs “but

for the misrepresentation” as to how the drugs were manufactured.

       GSK also refers to the “spirited exchange between this Court and counsel” at the March

12, 2019 summary judgment hearing as proof that “reasonable minds can differ” on the proper

interpretation of these cases. Dkt. No. 304-1, at 8 & n.2. GSK undermines its own position by



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referring to the summary judgment hearing. During that hearing, GSK’s counsel repeatedly

misstated the holdings in all three cases: Avandia I, Johnson & Johnson, and Kwikset. The

Court began the hearing by correctly noting that the injury asserted here and the injury asserted

in Kwikset are “similar.” Tr. p. 5, line 21. Later in the hearing, however, GSK’s counsel tried to

distinguish Kwikset by mischaracterizing it as applying only to “overcharge” claims, i.e., claims

that “you would have purchased the drug, but you paid more than you would have been willing

[to] pay.” Tr. p. 68, lines 8-11. The language in Kwikset quoted above conclusively disproves

that assertion. The Kwikset plaintiffs claimed that, had they known the truth, they would have

been unwilling to purchase the product at any price—not merely that they were overcharged and

would have been willing to purchase the product at some lower price. See 51 Cal. 4th at 319,

330.

       Similarly, the issue in Johnson & Johnson was not whether the plaintiff sued to recover

all of her purchase price or only some of it, i.e., an “overcharge.” Again, that is a false

distinction asserted by GSK’s counsel during the summary judgment hearing. Tr. p. 68, line 5.

The issue in Johnson & Johnson was whether the plaintiff would have acted any differently

knowing what she knows now -- either by paying less, or by refusing to pay at all. According to

her own allegations, she would not have acted differently in any respect. 1

       Finally, GSK’s counsel compounded his mischaracterizations of Kwikset and Johnson &

Johnson by arguing that the same “overcharge” limitation applies to Avandia I. Tr. p. 68, lines

5-11. Avandia I contains no such limitation. In its Rule 12(b)(6) decision, this Court specifically




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         GSK’s assertion that, for purposes of § 1292(b), the dissenting opinion in Johnson &
Johnson establishes that “reasonable minds can differ” on the injury question (Dkt. No. 304-1, at
8) is frivolous. If GSK were correct, any 2-1 decision by the Court of Appeals would provide a
basis for a § 1292(b) motion.
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noted the fact that Plaintiffs do not allege that they made an “overpayment,” as in Avandia I, but

rather that, if they had known the truth, Plaintiffs would have refused to pay anything “at all.”

Dkt. No. 105, at 10 n.10. The Court’s conclusion that this fact made no difference under

Avandia I—that it was “of no import” (id.)—is patently correct. Otherwise, a defendant could be

held liable for fraudulently selling products that had some value to the purchaser and were

merely overpriced, but the same defendant could escape liability for fraudulently selling products

that had no value at all. GSK does not, and cannot, cite any case that even remotely supports that

proposition.

       In sum, nothing in Avandia I, Johnson & Johnson, or Kwikset advances GSK’s argument

that, absent “patient harm,” Plaintiffs can only sue for an “overcharge”—the difference between

the price Plaintiffs actually paid for GSK’s drugs and some lower price Plaintiffs supposedly

would have paid with full knowledge that the drugs were materially non-compliant. See Dkt.

No. 304-1, at 7-9. Under controlling Third Circuit law, Plaintiffs are entitled to show that GSK’s

drugs had no economic value, and that Plaintiffs would have refused to pay for them at any price.

Simply put, there is no “substantial ground” for GSK’s position that incrementally overpriced

drugs are actionable, but economically worthless drugs are not. 2



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        The rest of GSK’s citations are equally unavailing. See Dkt. No. 304-1, at 9-10 & n.3.
For example, in Ironworkers Local Union 68 v. AstraZeneca Pharm., LP, 634 F.3d 1352, 1364
(11th Cir. 2001), the court’s statement that healthcare insurers cannot allege economic injury
because “insurers adjust premiums to compensate for known risks,” is plainly irrelevant where,
as here, the defendant concealed the relevant risks. Moreover, the Third Circuit in Avandia I
expressly rejected the reasoning in Ironworkers. See 804 F.3d at 641. GSK also cites In re
McNeil Consumer Healthcare Mktg. & Sales Practices Litig., 877 F. Supp. 2d 254 (E.D. Pa.
2012), for the proposition that consumers cannot allege an injury without proof of product defect.
Any such holding is clearly inapplicable to insurers under the Third Circuit’s subsequent ruling
in Avandia I. The same is true of GSK’s other cases: In re Digitek Prods. Liab. Litig., 821 F.
Supp. 2d 822 (S.D. W.Va. 2011); Myers-Armstrong v. Actavis Totowa, LLC, 2009 WL 1082026
(N.D. Cal. Apr. 22, 2009), aff’d, F. App’x 545 (9th Cir. 2010); and Polk v. KV Pharm. Co., 2011
WL 6257466 (E.D. Mo. Dec. 15, 2011).
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       “Materially advance the ultimate termination of the litigation.” As already

discussed, GSK’s last-minute motion is designed to delay rather than promote a prompt

resolution of this case. That alone is sufficient to preclude GSK’s request for interlocutory

review. This Court and others have repeatedly held that a § 1292(b) motion is inappropriate on

the eve of trial. See In re Prosser, 2011 WL 2181619, at *4 (“an interlocutory appeal can hardly

advance the ultimate termination of the litigation” when “discovery is complete and the case is

ready for trial”) (citing FDIC v. Parkway Exec. Office Ctr., 1997 WL 611674, at *3 (E.D. Pa.

Sept. 24, 1997) (internal quotations omitted)); see also In re G-I Holdings, Inc., 2005 WL

3370020, at *6-7 (D.N.J. Dec. 9, 2005) (denying a § 1292(b) motion where discovery had closed,

the pretrial order was close to finalization, and the scheduled trial was less than four months

away); Hulmes v. Honda Motor Co., 936 F. Supp. 195, 211-12 (D.N.J. 1996) (denying a

§ 1292(b) motion where the case had been pending for three years, discovery had closed, and the

scheduled trial was one month away).

II.    In Addition, GSK Has Failed To Establish Any Basis For A Stay Pending Appeal

       As demonstrated above, GSK has failed to make even a threshold showing that, under

Third Circuit law, “reasonable minds can differ” as to the validity of this Court’s injury ruling.

Yet, without more, GSK leaps immediately to the claim that it has made a “strong showing” that

this Court’s ruling is likely to be reversed on appeal, and therefore GSK is entitled to the

extraordinary relief of a stay. Dkt. No. 304-1, at 14, emphasis added. Given the Third Circuit’s

decisions in Avandia I and Johnson & Johnson, GSK’s prediction of success on the merits is

unsupported wishful thinking.

       Moreover, GSK has failed to demonstrate that it will suffer irreparable injury if a stay is

denied. GSK makes the incoherent statement that, “as the party facing significant potential



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liability,” it will suffer from “uncertainty,” which will put it “in a very difficult position, perhaps

further undermining settlement prospects.” Dkt. No. 304-1, at 14. “[S]ignificant potential

liability” is precisely what motivates defendants to settle. The same “irreparable injury” could

be asserted by any defendant facing claims for substantial damages that are ready for trial.

          As for the supposed lack of injury to Plaintiffs if a stay is granted, GSK argues that

Plaintiffs are “sophisticated litigants” with claims arising out of events “15-20 years ago,” and

consequently there is no “imminent need” to try these claims. Dkt. No. 304-1, at 15. But having

waited more than six years to present their case to a jury, Plaintiffs will be unnecessarily

prejudiced by further delays. As the Court stated during the October 8, 2019 telephone

conference, this is an old case. The time has come to try it.

          Finally, regarding a stay’s effect on the public interest, GSK argues that any delay is

immaterial because “the public interest in this matter has long since been vindicated through a

combination of consumer litigation, qui tam suits, and a parallel criminal action against SB

Pharmco.” Dkt. No. 304-1, at 15. GSK ignores the evident public interest in establishing at trial

that the nation’s private healthcare insurers have a legal remedy against the fraudulent sale of

materially non-compliant drugs. Whatever recoveries may have been obtained through

settlements of government litigation or limited consumer lawsuits fall far short of providing

comprehensive redress and deterrence against the type of drug company misconduct presented

here. 3



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        GSK also argues that a stay of the trial would “preserve the resources of the Court.” Dkt.
No. 304-1, at 15, quoting Cohen v. Chicago Title Ins. Co., 242 F.R.D. 295, 300 n. 8 (E.D. Pa.
2007) (Sánchez, J.). GSK fails to note that in Cohen, the Court granted a stay of further
proceedings at the very beginning of the case (at the class certification stage), not on the eve of
trial. Furthermore, the Court stayed proceedings in Cohen in view of the fact that an appeal in a
similar case was already pending in the Third Circuit. Cohen bears no resemblance to the
circumstances presented here.
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                                         CONCLUSION

       The Supreme Court has stated: “Routine resort to § 1292(b) requests would hardly

comport with Congress’ design to reserve interlocutory review for ‘exceptional’ cases while

generally retaining for the federal courts a firm final judgment rule.” Caterpillar, Inc. v. Lewis,

519 U.S. 61, 74 (1996) (internal quotation marks omitted). Thus, a movant under § 1292(b) has

the burden of showing that “exceptional circumstances justify a departure from the basic policy

against piecemeal litigation and of postponing appellate review until after the entry of a final

judgment.” Fleetwood Servs., LLC v. Complete Bus. Solutions Grp., Inc., 2019 WL 2106198, at

*4 (E.D. Pa. May 14, 2019) (Sánchez, C.J.) (internal quotation marks omitted).

       GSK has failed to establish the necessary “exceptional circumstances” for interlocutory

review. Its motion for certification and a stay of the trial should be denied.

Dated: October 21, 2019                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on October 21, 2019 I served the foregoing Plaintiffs’ Opposition to GSK’s

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